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     on behalf of himself and others similarly situated
12

13                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
14

15   DE’VON WALKER, on behalf of                  Case No.: 2:18-cv-06108 AB (RAOx)
     himself and others similarly situated,
16
                                                  Judge: Hon. Andre Birotte Jr.
17         Plaintiff,                             Magistrate: Hon. Rozella A. Oliver
18         vs.
                                                  DECLARATION OF DE’VON
19   SCOOBEEZ, a California corporation;          WALKER IN SUPPORT OF
     AVITUS, INC., a Montana corporation;         PLAINTIFF DE’VON WALKER ’S
20   AVITUS GROUP., an unknown business           OPPOSITION TO DEFENDANT
     entity; SCOOBEEZ, INC. CORP LA., a           SCOOBEEZ’S AND DEFENDANT
21   business entity of unknown form; and         AVITUS, INC’S DBA AVITUS
     DOES 1 through 50, inclusive,                GROUP’S MOTION TO COMPEL
22                                                ARBITRATION
23         Defendants.                            Date: August 24, 2018
                                                  Time: 10:00 a.m.
24                                                Dept.: Courtroom 7B
25

26                                                Complaint Filed: June 14, 2017
27

28

                                                      DECLARATION OF DE’VON WALKER
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           1                               DECLARATION OF DE’VON WALKER
           2     I, DE’VON WALKER, declare as follows:
           3              1.      My name is DE’VON WALKER. I am the Plaintiff in the above
           4     named lawsuit. This declaration is made in support of Plaintiff’s Opposition to
           5     Defendant Scoobeez’s and Defendant Avitus, Inc. dba Avitus Group’s Motion To
           6     Compel Arbitration. The statements herein are of my own personal knowledge and
           7     if called upon, I could and would competently testify thereto.
           8              2.      I began my employment with Defendant Scoobeez and Defendant
           9     Avitus, Inc. dba Avitus Group (collectively “Defendants”) as a machine operator in
          10     or around 2015.
          11              3.      I was told by Defendants that as part of the process for working for
          12     Defendants I must sign the purported arbitration agreement (the “AA”) with
          13     Defendants on September 30, 2016. It was presented to me on a take it or leave it
          14     basis.
          15              4.      At the time I was presented the AA on September 30, 2016 I was never
          16     given an explanation of the terms listed in the AA, never given an opportunity to
          17     negotiate any of its terms, and never given a meaningful opportunity to consult an
          18     attorney regarding the terms of the AA prior to signing it. In addition, I was never
          19     given an explanation of the arbitration process, the disadvantages of any terms of
          20     the arbitration, or information regarding arbitration tribunals. As I did not want to
          21     Risk losing my job with Defendants, I signed the AA.
          22
                       I declare under penalty of perjury under the laws of the State of California, that

          23     the foregoing is true and correct.
          24
                          Executed this 1st day of August 2018, at Irvine, California.
          25

          26                                                 ___________________________
          27                                                 DE’VON WALKER
          28

          29
                                                               -2-    DECLARATION OF DE’VON WALKER
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